                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                              Plaintiff,       )
                                               )
                       v.                      )             No. 13-4016-02-CR-C-BP
                                               )
BOGDAN NAHAPETYAN,                             )
a/k/a ARA,                                     )
                                               )
                              Defendant.       )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Bogdan Nahapetyan, a/k/a Ara, by consent, appeared before the undersigned
on November 12, 2013, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local
Rule 72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to an Information filed on
November 12, 2013. After cautioning and examining Defendant, under oath, in accordance with
the requirements of Rule 11, it was determined that the guilty plea was made with full
knowledge of the charge and the consequences of pleading guilty, was voluntary, and that the
offense to which Defendant has plead guilty is supported by a factual basis for each of the
essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Bogdan Nahapetyan, a/k/a/ Ara, be adjudged guilty and have sentence imposed
accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 14th day of November, 2013, at Jefferson City, Missouri.


                                               /s/   Matt J. Whitworth
                                               MATT J. WHITWORTH
                                               United States Magistrate Judge



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